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           EXHIBIT B
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                    UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                           WESTERN DIVISION

PERFECT 10, INC., a California           Case No.: CV11-7098-ABC (SHx)
Corporation ,
                                         [PROPOSED] PROTECTIVE
              Plaintiff,                 ORDER
      v.
GIGANEWS, INC., a Texas Corporation;
LIVEWIRE SERVICES, INC., a Nevada
Corporation; and Does 1 through 100,
inclusive,
              Defendant.
GIGANEWS, INC., a Texas Corporation;
LIVEWIRE SERVICES, INC., a Nevada
Corporation,
              Counterclaimants,
      v.
PERFECT 10, INC., a California
Corporation,
              Counterdefendant.




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                         [PROPOSED] PROTECTIVE ORDER
      For good cause the Court HEREBY ORDERS as follows pursuant to
Rule 26(c) of the Federal Rules of Civil Procedure.
      1.     Application. This Protective Order (“Order”) shall apply to and
govern all depositions, documents produced in response to requests for production
of documents, answers to interrogatories, responses to requests for admission, and
all other discovery pursuant to the Federal Rules of Civil Procedure or furnished
informally by agreement between the parties, as well as other information hereafter
furnished, directly or indirectly, by or on behalf of any party or nonparty in
connection with this action which that party or nonparty in good faith believes to
comprise or reflect proprietary information used by it in, or pertaining to, its
business, which is not generally known and which the party would normally not
reveal to third parties or would cause third parties to maintain in confidence. This
includes, without limitation, trade secrets, financial data, contracts and agreements,
current and future business plans, marketing documents, and customer information.
The term “document” as used in this Order shall have the broadest meaning
permissible under the Federal Rules of Civil Procedure and shall include, without
limitation, all “writings,” “recordings” and photographs” as defined in Rule 1001of
the Federal Rules of Evidence, and any information stored in or through any
computer system or other electronic or optical data storage device. This Protective
Order does not apply to hearings before the Magistrate Judge or hearings or trial
before the District Court. The parties, any party in interest, and/or the witnesses,
can move the Court to seal any court proceeding for reasons consistent with this
Protective Order.
      2.     Classes of Designation. Parties may designate material as
“Confidential” or “Highly Confidential – Attorneys’ Eyes Only (AEO)” or



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“Highly Confidential – Source Code – Outside Attorneys’ Eyes Only (OAEO)”
pursuant to this Order (collectively, “Designated Material”).
      3.       Limitation on Use of Designated Material. Recipients shall use
Designated Material solely for the purpose of prosecuting, defending, or
attempting to settle this litigation, Perfect 10, Inc. v Giganews, Inc., CV-11-7098-
ABC, and not for any other purpose whatsoever. A recipient may not use
Designated Material in connection with any other case, or in bringing, prosecuting,
defending, or attempting to settle any other litigation or claims.
      4.       Nondisclosure. Designated Material and the information in such
material shall not be disclosed to anyone except the categories of persons this
Order describes and under the conditions this Order describes. No expert or
consultant shall review or gain access to Designated Material unless he or she has
executed the Notification of Protective Order and Undertaking (attached as
Exhibit A). Receiving parties, experts, and consultants must store and maintain
Designated Material at a location and in a secure manner that ensures that access is
limited to the persons authorized under this Order. The recipient of any material
designated under this Order shall use its best efforts, but at no time less than
reasonable efforts under the circumstances, to maintain the confidentiality of such
information.
      5.       Manner of Designation. Any information or materials produced by
any party or nonparty as part of discovery in this action may be designated with
one of the classes of confidentiality by such party or nonparty in the following
manner:
      (a)      In the case of documents, by affixing a plainly visible designation
legend as follows: (i) for electronic files, on each page containing any confidential
information or material (or, if affixing by page is not possible, in the name of file)
and physically on the outside of any media for storing electronic documents; (ii)

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for non-electronic documents, on a cover page of such document; (iii) for written
discovery responses, within the responses designating the particular responses
containing Confidential information, and (iv) for pleadings and other materials
filed with the Court, in accordance with the Court’s requirements governing filings
under seal, at the time such documents are produced or such information is
disclosed, or as soon thereafter as the party or nonparty seeking protection
becomes aware of the confidential nature of the information or material disclosed
and sought to be protected hereunder.
      (b)    In the case of depositions or other pretrial or trial testimony:
(i) by a statement on the record, by counsel, during such deposition or other
pretrial or trial proceeding that the entire transcript or a portion thereof shall be
designated hereunder; or (ii) by written notice of such designation sent by counsel
to all parties within ten (10) days after the delivery to counsel of the transcript of
the deposition. At or before a deposition, the deponent or his counsel, or any other
counsel of record, acting in good faith, may invoke the provisions of this Order in a
timely manner, giving adequate warning to counsel for the party or nonparty that
testimony about to be given is deemed protected under this Order. The parties may
modify this procedure for any particular deposition or proceeding through
agreement on the record at such deposition or proceeding or otherwise by written
stipulation, without approval of the Court. If any document or information
designated under this Order is used during the course of a deposition, that portion
of the deposition record reflecting such Designated Material shall be sealed and
stamped accordingly, and access thereto shall be limited pursuant to the other
terms of this Order.
      (c)    A party or nonparty furnishing documents and things to another party
for inspection shall have the option to defer designation until after the inspecting
Party has indicated which materials it would like copied and produced, or may

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require that all or batches of documents and things be treated as Confidential ,
Highly Confidential – AEO, or Highly Confidential Source Code - OAEO during
inspection and to make its designations of particular documents and things at the
time copies of documents and things are produced or furnished.
       6.     “Confidential” Materials Permitted Disclosure and Access.
Material designated “Confidential,” or copies or extracts therefrom and
compilations thereof, may be disclosed, described, characterized, or otherwise
communicated or made available in whole or in part only to the following persons:
       (a)    Outside counsel of record in this litigation and staff and supporting
personnel of such attorneys, such as paralegals, secretaries, stenographic and
clerical employees and contractors, and outside copying, imaging and presentation
services (if used), who are working on this litigation under the direction of such
attorneys and to whom it is necessary that the materials be disclosed for purposes
of this litigation;
       (b)    In-house counsel for the parties herein who are necessary for the
furtherance of this litigation and in-house paralegal;
       (c)    Three officers of each of the parties;
       (d)    Subject to Paragraphs 13 and 15 herein, persons who are expressly
retained or sought to be retained by a party as consultants or testifying experts,
such accountants, statisticians, economists, industry or technical experts; provided
that the disclosure of “Confidential” material to any persons under this
subparagraph shall only be to the extent necessary to perform their work on this
litigation.
       (e)    Subject to Paragraph 15 herein, any other persons who are designated
to receive material designated “Confidential” by order of this Court after notice to
the parties, or by written stipulation of the parties.



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      (f)    Subject to Paragraph 14 and Paragraph 15 herein, any person who
gives testimony in deposition or trial in this action.
      (g)    The Court and Court personnel.
      (h)    Subject to Paragraph 15, court reporters, interpreters and
videographers employed in connection with this action.
      7.      “Highly Confidential – AEO” Materials Permitted Disclosure
and Access. Material designated “Highly Confidential -- AEO,” or copies or
extracts therefrom and compilations thereof, may be disclosed, described,
characterized, or otherwise communicated or made available in whole or in part
only to, and accessed, copied, or held only by, the following persons:
      (a)    Two in-house counsel of each of the parties who shall also sign the
attached Notification of Protective Order and Undertaking.
      (b)    Outside counsel of record and necessary support staff working under
the lawyers’ supervision.
      (c)    Outside consultants and experts, not affiliated with or employed by
any party, who have signed the attached Notification of Protective Order and
Undertaking and who qualify for access to the materials in the manner set forth in
Paragraph 13 herein, provided that the disclosure of Designated Material to any
persons under this subparagraph shall only be to the extent necessary to perform
their work on this litigation
      (d)    Subject to Paragraph 15 herein, any other persons who are designated
to receive material designated “Highly Confidential -- AEO” by order of this Court
after notice to the parties, or by written stipulation of the parties.
      (e)    Subject to Paragraph 14 and Paragraph 15 herein, any person who
gives testimony in deposition or trial in this action.
      (f)    The Court and Court personnel.



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      (g)    Subject to Paragraph 15, court reporters, interpreters and
videographers employed in connection with this action.
      (h)    [Perfect 10’s proposal regarding additional persons permitted to
view AEO material would concern this subsection.]
Highly Confidential – AEO materials shall not be disclosed to any other officer,
director or employee of a party, unless otherwise agreed or ordered. Designation
of material as Highly Confidential - AEO shall be restricted to only those materials
for which there is a legitimate reason to restrict access.
      8.     Highly Confidential Source Code – OAEO Materials Permitted
Disclosure and Access. The parties may further designate certain source code,
including machine code, website scripts, algorithms, and other software or
programs of a highly confidential and/or proprietary nature as “Highly
Confidential Source Code – OAEO.” Highly Confidential Source Code - OAEO
Material or copies or extracts therefrom and compilations thereof may be
disclosed, described, characterized, or otherwise communicated or made available
in whole or in part only to, and accessed, copied, or held only by, the following
persons:
      (a)    Outside counsel of record and necessary support staff working under
the lawyers’ supervision.
      (b)    Outside consultants and experts, not affiliated with or employed by
any party, who have signed the attached Notification of Protective Order and
Undertaking and who qualify for access to the materials in the manner set forth in
Paragraph 13 herein, provided that the disclosure of Designated Material to any
persons under this subparagraph shall only be to the extent necessary to perform
their work on this litigation.




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      (c)    Subject to Paragraph 15 herein, any other persons who are designated
to receive material designated “Highly Confidential -- AEO” by order of this Court
after notice to the parties, or by written stipulation of the parties.
      (d)    Subject to Paragraph 14 and Paragraph 15 herein, any person who
gives testimony in deposition or trial in this action.
      (e)    The Court and Court personnel.
      (f)    Subject to Paragraph 15, court reporters, interpreters and
videographers employed in connection with this action.
      (g)    [Perfect 10’s proposal regarding additional persons permitted to
view OAEO material would concern this subsection.]
      Highly Confidential Source Code – OAEO materials shall not be disclosed
to any officer, director or employee of a party, unless otherwise agreed or ordered.
Designation of material as Highly Confidential Source Code - OAEO shall be
restricted only to those materials for which there is a legitimate reason to restrict
access.
      9.     Additional Precautions Regarding Highly Confidential Source
Code – OAEO. The following additional protections shall apply to Highly
Confidential Source Code – OAEO Material.
      (a)    Other than for purposes of this Action, subject to the restrictions of
this Order, and except as hereinafter provided, those permitted access to Highly
Confidential Source Code - OAEO Material under this Order shall not duplicate
the material or disclose contents of the material to any other persons at any time
and shall never use any information gained from access to or review of such
materials for any purpose or reasons other than for the purposes of this action.
      (b)    Each of Fenwick & West LLP and Krause, Krause, Kalfayan, Benink
& Slavins, LLP, shall designate one of its attorneys to function as the Custodian of
any Highly Confidential Source Code - OAEO Material produced to the firm under

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this Order. Each Custodian shall execute a statement to be provided to opposing
counsel upon execution, confirming that he or she will maintain any Highly
Confidential Source Code - OAEO Material produced to his or her firm in
compliance with all the terms of this Order. The Custodians will ensure that Highly
Confidential Source Code - OAEO Material will be protected from dissemination,
including by the following means.
      (c)    At each location, any Highly Confidential Source Code - OAEO
Material will be kept in a secure location when not being actively accessed.
      (d)    At each location, counsel for the receiving parties and consultants and
experts who have signed the Notification of Protective Order will maintain a log of
those counsel of record, support personnel working under their direct supervision,
one officer of the party, and experts or consultants who have accessed Highly
Confidential Source Code - OAEO Material. The log entries will include the date
and time of any such access. Before gaining access for the first time to Highly
Confidential Source Code - OAEO Material, such person otherwise qualifying
under Paragraph 8 will review this Order and attest to having read and understood
it, which also will be recorded on the log. In the event of a dispute involving any
alleged violation of this Order, counsel may obtain immediate copies of the logs
from each location by written notice to the opposing Custodian.
      (e)    Except as needed for use in depositions, court filings under seal, or
trial, no copies of Highly Confidential Source Code - OAEO Material, or work
product containing portions of such data, shall be taken from the offices of outside
counsel of record or outside consultants and experts who have signed the
Notification of Protective Order and Undertaking, and no computer that contains
any of the Highly Confidential Source Code - OAEO Material or portions of the
data shall be connected to a computer network of any sort while it contains the
Highly Confidential Source Code - OAEO Material or portions of such data.

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      (f)      In the event that a Custodian becomes aware of any breach of the
provisions of this Order, he or she shall promptly alert opposing counsel of any
such breach.
      10.      Material Subject to Protection On Other Grounds. Subject to
Paragraph 11, in the event that information in the possession or control of a person
or entity involves the confidentiality rights of a non-party or its disclosure would
violate a protective order issued in another action, the party with possession or
control of the information will promptly attempt to obtain the consent of the non-
party to disclose the information under this Order. If the consent of the non-party
is refused or otherwise cannot be obtained, the party will promptly thereafter notify
the party seeking discovery by the written response due date for such discovery of:
(a) the existence and description (to the extent disclosable) of the information
without producing such information and; (b) the identity of the nonparty (provided,
however, that such disclosure of the identity of the non-party does not violate any
confidentiality obligations). The party seeking discovery may then make further
application to the non-party or seek an order to compel discovery.
      11.      Procedures for Disclosure of Customer Information. To conform
to the terms of Defendant(s) Privacy Polic(ies), to the extent that Defendants’
discovery obligations require them to produce any customer information,
Defendants shall do so under this provision:
      (a)      After Defendant(s) has identified disclosure of a particular customer’s
information as necessary for discovery in this matter, that Defendant shall attempt
to notify that customer of the following:
               (i)    The existence of this litigation and protective order;
               (ii)   and that the customer’s information will be disclosed pursuant
to this protective order unless the customer objects to the Court within 14 days.



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      (b)    If the customer does not object to the Court within 14 days,
Defendant(s) shall disclose the information in a manner consistent with the
remaining terms of this protective order.
      (c)    If the Court receives an objection within 14 days, Defendant(s) will
abide by the Court’s ruling on that objection, and will not release the information
until the objection has been withdrawn, ruled upon, or otherwise resolved.
Plaintiff may respond to any such objection to the Court. If the Court overrules the
customer’s objection, Defendant shall produce the information in a manner
consistent with the remaining terms of this protective order.
      12.    Restrictions Applicable to Certain Individuals. The parties retain
the right to apply to the Court for an order restricting certain individuals from
access to certain information. To accomplish this, counsel for a party wishing to
restrict access to information shall produce the information (i.e. document) to all
counsel for which there is no objection, with a request that the information not be
disseminated to other individuals involved in this litigation pending further order
of the Court. The moving party shall, thereafter, within (7) seven days, file the
information under seal with the Magistrate Judge and identify the person (by name
and title) who the moving party objects to seeing the information and why the
moving party believes the information should not be received by this person(s). If
the Court is inclined to grant the order, it will notify the aggrieved party and invite
briefing (and/or oral argument) before issuing an order.
      13.    Eligibility to Serve as Consultant or Expert Witness. For the
purposes of this Order, a consultant shall be restricted to a person who is retained
or employed as a bona fide consultant or expert for purposes of this litigation,
whether full or part time, by or at the direction of counsel for a party, and who is
not retained by, employed by, or otherwise affiliated with any party to this action.
The name, business address, curriculum vitae (“CV”) and affiliation of each such

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consultant or testifying expert must be disclosed to the producing party at least 10
days prior to such person’s review of material designated under this Order. The
CV shall contain a list of all present employers/clients as well as all past
employers/clients for the 5 years preceding the date of employment in this case.
During that 10-day period, counsel for the designating party shall have the
opportunity to oppose the proposed disclosure. Any party opposing disclosure
shall within such 10-day period provide the other party with a written objection,
setting forth in reasonable detail the specific grounds for such opposition. If no
written objection is received by 5:00 p.m., Pacific time, on the tenth day following
the date of disclosure of the identity of the proposed consultant or testifying expert,
then the party) seeking to disclose may do so and failure to object shall constitute
waiver of the specific objection. However, after the ten-day period has expired
without objection, a party may still move the Magistrate Judge to allow it to object
to an expert if it can show: a) there is new, material information relating to the
expert, which was not available to the moving party within the five-day objection
period; and b) had the moving party been aware of the information at the time, the
moving party would have objected to the expert. In the event that an objection is
received, the parties shall meet and confer telephonically or in person within 10
days to attempt to resolve the objection. If, after meeting and conferring, the
parties cannot resolve the objections, the objecting party shall, within 5 days, send
to the other party by email its portion of a joint stipulation, modeled on the
procedure used by this District, to be furnished to the court in connection with any
motion regarding the objection. Within 5 days of receipt of such portion of the
joint stipulation, the party seeking to disclose shall send its portion of a joint
stipulation to the objecting party by email. After combining the sections and
obtaining permission from the party seeking to disclose, the objecting party shall
promptly file the joint stipulation with the Court, and both parties shall seek a

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hearing at the Court’s earliest convenience. In the event such resolution by the
Court is necessary, the material at issue shall not be disclosed to the consultant or
testifying expert pending resolution of the issue by the Court.
      14.    Access by Author or Previous Recipient of Information Serving as
Witness. Each person set forth in Paragraph 6 to be examined as a witness, may
be so examined at trial or during a deposition concerning any information or
material designated under this Order, which that person had lawfully received or
authored prior to and apart from this action. During examination, any such witness
may be shown information or material designated under this Order by a party
which appears on its face or from other documents or testimony to have been
received or authored by that witness from, or communicated to that witness by, that
same party provided that the examining party makes a reasonable effort to obtain
the compliance of the witness with Paragraph 15.
      15.    Signatures on Notification and Undertaking. Each person set forth
in Paragraph 6 who is not (i) outside counsel to a party to this litigation, or staff
directly employed by such outside counsel; or (ii) the Court or Court personnel to
whom material designated under this Order is to be disclosed, shall, before
receiving such material, receive a copy of this Order and a copy of the Court’s
Notification of Protective Order and Undertaking, which the person shall read and
sign (Attached as Exhibit A). Counsel for the party seeking to disclose material
designated under this Order to any such person pursuant to this paragraph shall be
responsible for permanently retaining the executed originals of all such
Notifications.
      16.    Filing or Submission of Protected Materials. In the event that
counsel for any party determines to file or submit to this Court any Designated
Material or information from such materials pursuant to this Order (“Confidential
Information”), or any papers containing or making reference to such information

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(the “Filing Party”), those materials shall be filed under seal in accordance with
Local Rule 79-5. Subject to the Court’s convenience and needs, documents filed
under seal shall be kept under seal by the Clerk until further Order of the Court.
      17.    Designation by Nonparties. Nonparties who produce any documents
and information pursuant to subpoena or otherwise may designate material
pursuant to the terms of this Order.
      18.    Challenges to Designations. A party shall not be obligated to
challenge the propriety of material designated under this Order at the time the
designation is made and failure to do so shall not preclude a subsequent challenge
thereto. In the event that any party to this litigation disagrees at any state of these
proceedings with such designation, such party shall provide to the designating
person or entity a letter detailing its objection to the designation. To avoid
ambiguity as to whether a challenge has been made, the letter must recite that the
challenge to confidentiality is being made in accordance with this specific
paragraph of this Order. The designating person or entity shall respond by letter
within 10 days to such letter. If this does not resolve the issue, the parties shall
meet and confer telephonically or in person within 10 days. If, after meeting and
conferring, the parties cannot resolve the challenge, the objecting party may file a
motion objecting to the designation in accordance with Local Rule 37-2. The
material shall be treated as designated pending resolution of the issue by the Court.
In any such motion, the burden of proving that information has been properly
designated under this Order is on the person or entity making such designation.
      19.    Disclosure By Specific Consent or Pursuant to Legal Obligation.
Nothing in this Order shall prevent disclosure beyond the terms of this Order if the
party designating material consents in writing to such disclosure, or if a court
orders such disclosure. A party requested to disclose material designated under
this Order to a nonparty pursuant to a validly served subpoena civil investigative

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demand, discovery procedure permitted under the Federal Rules of Civil Procedure
or other formal discovery request shall object to its production to the extent
permitted by applicable law and notify the requesting nonparty of the existence of
this Order and that the material requested by the nonparty has been designated
under this Order, and shall further give notice of such request, by email and next
business day delivery, upon the party which designated the material as soon as is
reasonably possible, but in all instances sufficiently prior to the date on which such
confidential material is to be produced to the nonparty. Once such notice is given,
the designating party shall take all steps it believes are necessary to protect the
Designated Materials and the non-designating party is not required to take any
further action.
      20.    Inadvertent Failure to Designate Material. If a party inadvertently
fails to designate material and/or information, when producing or otherwise
disclosing such material and/or information, it shall not be deemed a waiver in
whole or in part of a party’s claim of confidentiality, either as to the specific
information disclosed or as to any other information relating thereto or on the same
or related subject matter. As soon as the receiving party has knowledge of the
inadvertent production, the information must be treated as if it had been designated
under this Protective Order, and the receiving party must endeavor in good faith to
obtain all copies of the document which it distributed or disclosed to persons not
authorized to access such information by Paragraphs 6-8 above, as well as any
copies made by such persons. The costs of doing so shall be paid by the
designating party.
      21.    Inadvertent Disclosure of Privileged or Protected Materials. If a
party inadvertently produces materials and/or information that is subject to
attorney-client privilege, work-product protection, or any other applicable privilege
or protection, it shall not be deemed a waiver in whole or in part of a party’s claim

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of privilege or protection, either as to the specific information disclosed or as to
any other information relating thereto or on the same or related subject matter. As
soon as the receiving party has knowledge of the inadvertent production, the
information must be treated as if it had been designated under this Protective
Order, and the receiving party must endeavor in good faith to obtain and destroy or
sequester all copies, notes, or summaries of the document which it distributed or
disclosed, as well as any copies made by such persons. Until a Court orders the
production of such documents, the receiving party may not review, use, or disclose
the inadvertently produced documents or any notes or summaries based on those
documents, though the receiving party may retain notes of information about the
document that would typically appear on a privilege log. If the non-producing
party believes the claim of privilege or protection is unwarranted, it may move to
the Court to compel the production of the documents at issue, but may not use the
substance of the inadvertently-disclosed documents to do so. The moving party
may use information that would typically be on a privilege log in so moving.
        22.   Acknowledgement by Counsel. All counsel for the parties who have
access to information or material designated under this Order acknowledge they
are bound by this Order and submit to the jurisdiction of this Court for purposes of
enforcing this Order.
        23.   Rights Not Affected and No Admission, Waiver, or Prejudice.
Entering into, agreeing to, and/or producing or receiving information or material
designated under this Order, or otherwise complying with the terms of this Order
shall not:
        (a)   constitute an admission or waiver of any claim or defense by any
party
        (b)   operate as an admission by any party that any particular information
or material designated under this Order contains or reflects trade secrets,

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proprietary or commercially sensitive information or any other type of confidential
information;
      (c)      operate as an admission by any party that the restrictions and
procedures set forth herein constitute or do not constitute adequate protection for
any particular information designated under this Order;
      (d)      affect the right of any party to make any objection, claim any
privilege, or otherwise contest any request for production of documents,
interrogatory, request for admission, subpoena, or question at a deposition or to
seek further relief or protective order from the Court as permitted by the Federal
Rules of Civil Procedure;
      (e)      prejudice in any way the rights of any party to object to the
authenticity or admissibility into evidence of any document, testimony or other
evidence subject to this Order;
      (f)      prejudice in any way the rights of any party to seek a determination by
the Court whether any information or material should be subject to the terms of
this Order;
      (g)      prejudice in any way the rights of any party to petition the Court for a
further protective order relating to any purportedly confidential information;
      (h)      prevent the parties to this Order from agreeing in writing or on the
record during a deposition or hearing in this action to alter or waive the provisions
or protections provided for herein with respect to any particular information or
material with written or on the record consent of the party disclosing such
information.
      24.      This Order shall not be construed to apply to any information that: (a)
is available to the public other than through a breach of this Order or other duty of
confidentiality; (b) a receiving party can demonstrate was already known to the
party at the time of disclosure and was not subject to conditions of confidentiality;

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or (c) a receiving party can demonstrate was developed by that party independently
of any disclosure by a designating party or nonparty. Nothing in this Order shall
preclude any party to the lawsuit or its counsel from disclosing or using, in any
manner or for any purpose, any information or documents from the party’s own
files which the party itself has designated under this Order.
      25.    Disposal of Designated Material. Within sixty (60) days after the
final termination of litigation between the parties (including appeals), all
Designated Material under this Order and all copies of or references to (including
summaries and excerpts) shall be either returned to the party that produced it or
destroyed and a certification of destruction supplied to the producing party;
provided, however, that for each party, counsel who is entitled to access to such
Designated Material pursuant to this Order may retain one complete and
unredacted set of its work product that contains Designated Material as well as
pleadings and papers filed with the Court or served on the other party solely for
reference. In addition, each producing party’s outside counsel of record may
securely retain one archival copy of its’ client’s Designated Material. Only in the
event of, further proceedings or litigation between the parties, a dispute over such
counsel’s performance, or a dispute over the use or dissemination of material
designated under this Order may counsel use Designated Material or information
from Designated Material. Such retained copy of pleadings and papers shall be
maintained in a file accessible only by properly authorized counsel under the
provisions of, and bound by, this Order. This Order shall survive the final
termination of this litigation with respect to any such retained Designated Material
and the Court shall retain jurisdiction to resolve any dispute any dispute
concerning the use of information disclosed hereunder.




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      BY ORDER OF THE COURT.


                                                Hon. ____________________
                                                United States Magistrate Judge




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                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION

PERFECT 10, INC., a California                Case No.: CV11-7098-ABC (SHx)
Corporation ,
                                              NOTIFICATION OF
                Plaintiff,                    PROTECTIVE ORDER
                                              COVERING INFORMATION IN
      v.                                      CASE AND UNDERTAKING
GIGANEWS, INC., a Texas Corporation;
LIVEWIRE SERVICES, INC., a Nevada
Corporation; and Does 1 through 100,
inclusive,
                Defendant.
GIGANEWS, INC., a Texas Corporation;
LIVEWIRE SERVICES, INC., a Nevada
Corporation,
                Counterclaimants,
      v.
PERFECT 10, INC., a California
Corporation,
                Counterdefendant.

      The United States District Court in Los Angeles has issued a protective
order in this case, which limits the dissemination of Confidential, Highly

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            NOTIF. OF PROT. ORD. GOVERNING INFO IN CASE
                              EXHIBIT A
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Confidential, and Highly Confidential Source Code information produced in
discovery. You are now subject to this order and are prohibited by court order
from communicating any Confidential, Highly Confidential, or Highly
Confidential Source Code information you obtained through discovery in this case
to any persons other than those specified in the protective order. If you
intentionally disseminate this information in violation of this Court’s order, you
could be subject to sanctions, which could include fines and, in an extreme case,
incarceration for contempt of court.
      If for any reason you believe you should not be subject to this order or
would like to request an order from the Court exempting you from this order, you
should request a hearing before this Court and obtain a ruling before you
disseminate any of the information. You can request a hearing by telling any of
the attorneys in this case that you want to be heard. The attorney will then arrange
for the Court to hold a hearing. If you prefer, you can instead call the Court’s clerk
and request a hearing date.
      BY ORDER OF THE COURT.


                                                       Hon. ____________________
                                                       United States Magistrate Judge

      I declare under penalty of perjury that I have read the Protective Order
issued in this case and that I agree to abide by and be bound by its terms.
      Executed this ___ day of _________________________, 20__ in
_____________________________________.



Print Name                                 Signature
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             NOTIF. OF PROT. ORD. GOVERNING INFO IN CASE
                               EXHIBIT A
